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Attorney:
CSMLEGAL, P.C.
60 EAST 42ND STREET SUITE 4510 NEW YORK, NY .
10165 600539 Index / case #: #:79-CV-01257
AFFIDAVIT OF SERVICE
UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF
NEW YORK
RODOLFO MONTER HERNANDEZ
Plaintififs)
vs

99 THAI PLAYGROUND LLC D/B/A THAIMEE TABLE, ET AL.

Defendant(s}

STATE OF NEW YORK, COUNTY OF KINGS, SS.:
AARON JONES, being sworn says: Deponent is not a party herein; is over the age of 18 years and resides jn the State of New York.
On 46/7/22, at 4:38 PM at: THAIMEE LOVE 116 WEST HOUSTON STREET, NEW YORK, NY 710012

Deponent served the within FILED ORDER TO SHOW CAUSE

On which were set forth the Index No., herein, ard date of filing

On: NGAMPROM THAIMEE AIK/A HONG THARMEE,

(herein after called the recipient) therein named.

C7 INDIVIDUAL By delivering a true copy of each to said recipient personally; Deponent knew the person so served to be thé person described in as
said recipient therein.

f SUITABLEAGE By delivering thereat a true copy of each to JUAN MONTOYA (Authorized Agent)

PERSON a person of suitable age and discretion. Said premises is recipient's: [X] actual place of business / employment
f] dwelling house (usual place of abode) within the state.
(2) AFFIXING TO By affixing a true copy of each to the door of said prémises which is recipients [J actual place of business / employment
DOOR [] dwelling house (usual place of abode) within the state.
Deponent was unable with due diligence to find defendant or person of suitable age and discretion thereat having visited
there
(j Corporation Sy delivering thereat a true copy of each to
or personaily. Deponent knew said corporation/partnership so served to be the corporation/partnership described in said
Partnership aforementioned document as said recipient and knew said individual to be
bX] MAILING Within 20 days of such delivery, or affixing, deponent enclosed a copy of same in a postpaid envelope properly addressed to recipients
last known

0 Actual Place of Residence [X] Actual Place of Business

at THAIMEE LOVE 116 WEST HOUSTON STREET, NEW YORK, NY 10012

and deposited the envelope in an-efficial depository under the exclusive care and custody of the U.S. Postal Service within New York
State, The envelope bore the segend "personal and confidential" and did not indicate on the outside, thereof by return address or
otherwise that the communication was from an attomey or concerned an action against the defendant.

Xj DESCRIPTION Sex: Male Color of skin: Brown Golor of hair: BALDING Glasses:
Age: 35 Height: Sf4in-5figin Weight: 161-200 Lbs.
Other identifying Features:
bY MILITARY i asked the person spoken to whether defendant was in active military service of the United States or the State of New York in any
SERVICE capacity whatever and received a negative reply. The source of my information and the grounds of my belief are the conversations

and observations above narrated.

[1 Subpoena Fee Tendered in the amount of

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Sworn to before ‘Ine on 1 rez Qu
hege

TAMARA TQWSHiIts ALAM
AARON soles

NOTARY PUBLIC, STATE OF NEW YORK

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File No: 1:19-CV-01257 Work Order No. 600538

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DOCUMENT

UNITED STATES DISTRICT COURT ELECTRONICALLY FILED |f

SOUTHERN DISTRICT OF NEW YORK poc?: |
HATE FILED: 10/4/2022

RODOLFO MONTER HERNANDEZ,

Plaintiff 19-CV-01257 (ALC)(SN)

ORDER TO SHOW CAUSE

-against-

99 THAT PLAYGROUND LLC d/b/a THAIMEE
TABLE, et al.,

Defendants.
x

SARAH NETBURN, United States Magistrate Judge.

This wage-and-hour case has a complicated, and somewhat tortured, history. The Court’s
current concern is whether Defendant Ngamprom Thaimee, a/k/a Hong Thaimee (“Thaimee”),
was properly served.

I. Service on Thaimee

Plaintiff filed his original complaint on February 8, 2019, seeking relief for violations of
the FLSA and NYLL. ECF No. 1. Thaimee was the owner and head chef of the now-closed
restaurant Thaimee Table, where Plaintiff is alleged to have been a delivery worker. The Court
issued an electronic summons as to Thaimee on February 11, 2019. Following the filing of the
First Amended Complaint, the Court issued a second summons as to Thaimee on April 26, 2019.
Plaintiff filed an affidavit of service indicating that service was effected on Thaimee on May 14,
2019, by service at the restaurant Thaimee Table. ECF No 38. Based on proof of the May 14,
2019 service, the Court issued a Certificate of Default on February 26, 2020. ECF No. 78.

Separately, in connection with an Order to Show on Plaintiff's motion for default,

Defendant Matt Bruck challenged his service on May 14, 2019, at Thaimee Table in part because

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“during the week of April 29, 2019, a New York City Marshall padlocked the restaurant and
returned the property to the building’s owner.” ECF 101. Bruck submitted photos that purport to
establish that the Marshal executed a warrant on April 23, 2019, at which time the landlord took
legal possession of the premises. Although the Court did not grant Bruck’s motion to dismiss for
ineffective service, it extended the time to allow Plaintiff to serve Bruck. ECF No. 108.

On this record, at a subsequent hearing, the Court addressed whether Thaimee could have
been served on May 14, 2019. Plaintiff responded in two ways. First, he submitted an affidavit of
service purporting to establish that Thaimee was served at Thaimee Table on April 3, 2019,
before the restaurant was allegedly closed, by delivering the summons and original complaint to
a co-worker named “ILeo Smith,” ECF No. 137-1. This affidavit of service has never been filed
with the Court and no Certificate of Default has been issued in connection with it. Second, he
submitted a log and phote from process server Andrew Meisel, which purports to establish that
he actually served the summons and Amended Complaint on May 14, 2019, by delivering them
to a co-worker named “Joseph Smith,” and that the restaurant was open at that time.

IL. Order to Show Cause

The Court has serious concerns as to whether Thaimee has been properly served. With
respect to the only affidavit of service filed with the Court, the evidence suggests that service on
May 14, 2019, by delivering the summons and Amended Complaint to a co-worker at Thaimee
Table, is not possible. In addition to the proof submitted by Defendant Bruck — including the
executed warrant by the City Marshal — news articles and reliable internet pages confirm that

Thaimee Table was closed by at least April 30, 2019. See, e.g., https:/Avww.opentable.com/r/

. thaimee-table-ngam-new-york (reviews on April 30, and May 4, 2019, stating that the restaurant

is “closed”). Plaintiffs affidavit of service dated April 3, 2019, was never filed with the Court
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and no Certificate of Default has been entered in connection with that affidavit. Process server
Andrew Meisel’s trustworthiness is certainly in doubt.

Additionally, the Court’s own research suggests that Thaimee is a successful and well-
known “chef, entrepreneur, and philanthropist,” and “one of the most visible faces of Thai food

in the US.” See https://www.hongthaimee.com/chef-hong-thaimee/. She is hardly someone who

should be difficult to serve.
CONCLUSION
Accordingly, Plaintiff is ORDERED to serve this Order upon Defendant Ngamprom
Thaimee a/k/a Hong Thaimee. Plaintiff must undertake every effort to serve Thaimee, including
without limitation:

* Personal service at the restaurant Thaimee Love, located at 116 West Houston Street,
New York, NY 10012;

¢ Calling Thaimee Love at (347) 325-2557 to request assistance with service;

e Contacting Thaimee’s in-house press contact through the website at
https://www.hongthaimee.com/press/

By October 14, 2022, Plaintiff must file an attorney affidavit attesting to all efforts
undertaken to serve Thaimee and the results of that effort. Absent further order of the Court, by
October 28, 2022, Thaimee is ORDERED TO SHOW CAUSE why the Court should not enter
default against Defendant Ngamprom Thaimee a/k/a Hong Thaimee based on the April 3, 2019
affidavit of service and assess damages against her in accordance with Plaintiff's Proposed

Findings of Fact and Conclusions of Law and the supporting record. See ECF Nos. 119-120.

sO “_—N pP_ M An

SARAH NETBURN

DATED: October 4, 2022 United States Magistrate Judge
New York, New York
